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Counsel for Defendants




                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                   PENDLETON DIVISION

 KATHRYN DUNLAP and JAMES
 DUNLAP,

                Plaintiffs,

 v.                                               Civil Action No.2:21-cv-00942-SU

 THOMAS J. VILSACK, in his official
 capacity as U.S. Secretary of Agriculture; and   DEFENDANTS’ STATUS REPORT
 ZACH DUCHENEAUX, in his official
 capacity as Administrator, Farm Services
 Agency,
                Defendants.
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       In accordance with the Court’s September 21, 2021 Order, ECF 42, Defendants

respectfully submit the following status report:

       1.       Plaintiffs in this action challenge Section 1005 of the America Rescue Plan Act of

                2021. Because Plaintiffs are members of a class certified by the Court in the first-

                filed of these challenges, Miller v. Vilsack, Case No. 4:21-cv-595 (N.D. Tex.),

                Defendants moved for—and the Court granted—a stay of this action pending

                resolution of the Miller litigation. ECF 42 at 5.

       2.       The Miller class litigation remains ongoing. Plaintiffs and Defendants previously

                filed cross-motions for summary judgment on March 11, 2022, but the intervention

                of additional parties has reset the summary-judgment schedule. The parties are

                currently scheduled to complete summary-judgment briefing by August 2, 2022.

       3.       Because the Miller case is still pending, and Plaintiffs remain members of the class

                certified in that case, the interests of judicial efficiency weigh in favor of continuing

                the stay.




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DATED: June 21, 2022                Respectfully submitted,

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                                     /s/ Alexander V. Sverdlov         .
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